      Case 1:25-cv-00097-ADA                  Document 1-6              Filed 01/21/25         Page 1 of 10
                                                                                                        CT Corporation
                                                                                         Service of Process Notification
                                                                                                                  12/27/2024
                                                                                                     CT Log Number 548070365


Service of Process Transmittal Summary

TO:       Ca Legalit
          Bank of America
          31303 AGOURA ROAD, CA6-917-02-18
          WESTLAKE VILLAGE, CA 91361-4635

RE:       Process Served in North Carolina

FOR:      Bank of America, National Association (Domestic State: N/A)



ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                        VANESSA BISSERETH vs. BANK OF AMERICA, N.A.
                                        Name discrepancy noted.
DOCUMENT(S) SERVED:                     Citation, Original Petition

COURT/AGENCY:                           Travis County Justice of Peace, Precinct 5, TX
                                        Case # J5CV24274397
NATURE OF ACTION:                       Violations of the Fair Debt Collection Practices Act and the Texas Debt Collection Act

PROCESS SERVED ON:                      C T Corporation System, Raleigh, NC

DATE/METHOD OF SERVICE:                 By Traceable Mail on 12/27/2024 postmarked on 12/19/2024

JURISDICTION SERVED:                    North Carolina

APPEARANCE OR ANSWER DUE:               By the end of the 14th day after the day of service (Document(s) may contain additional
                                        answer dates)
ATTORNEY(S)/SENDER(S):                  Robert Zimmer
                                        Zimmer & Associates, A Law Firm
                                        1108 Lavaca Street, Suite 110-187
                                        Austin, TX 78701
                                        512-434-0306
ACTION ITEMS:                           CT has retained the current log, Retain Date: 12/27/2024, Expected Purge Date:
                                        01/01/2025

                                        Image SOP

                                        Email Notification, Ca Legalit calegalit@bofa.com

REGISTERED AGENT CONTACT:               C T Corporation System
                                        160 Mine Lake CT, Suite 200
                                        Raleigh, NC 27615
                                        8775647529
                                        MajorAccountTeam2@wolterskluwer.com



The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the




                                                         F                                                             Page 1 of 2
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                                                                                                        CT Corporation
                                                                                         Service of Process Notification
                                                                                                                  12/27/2024
                                                                                                     CT Log Number 548070365

included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
contained therein.




                                                                                                                       Page 2 of 2
                                                                             CERTIFIED MAIL'
       Case 1:25-cv-00097-ADA            Document 1-6       Filed 01/21/25   Page 3 of 10

TRAVIS COUNTY CONSTABLE, PRECINCT FIVE


1003 GUADALUPE ST.                                                                          0008027930 DEC 19 2024
AUSTIN,TEXAS 78701                                                              10 5270 1748 8147 89

RETURN SERVICE REQUESTED




                                 J5CV242743,97-2
                                 BANK OF AMERICA NA
                                 CT CORPORA.11ON SYSTEM
                                 160 MINE LAKE CT STE 200
                                 RALEIGH NC 27615




                                         4
          Case 1:25-cv-00097-ADA                Document 1-6          Filed 01/21/25        Page 4 of 10

                                           JUSTICE CIVIL CITATION

 THE STATE OF TEXAS

  TO: BANK OF AMERICA,N.A.
      ATTN CT CORPORATION SYSTEM
      160 MINE LAKE CT STE 200
      RALEIGH NC 27615

 YOU HAVE BEEN SUED. You may employ an attorney to help you in defending against this lawsuit, but
 you are not required to employ an attorney. You or your attorney must file an answer with the court. Your
 answer is due by the end of the 14th day after the day you were served with these papers. If the 14th day is a
 Saturday, Sunday, or legal holiday, your answer is due by the end of the first day following the 14th day that
 is not a Saturday, Sunday, or legal holiday. Do not ignore these papers. If you do not file an answer by the
 due date, a default judgment may be taken against you. For further information, consult Part V of the Texas
 Rules of Civil Procedure, which is available online and also at the court listed on this citation.

 YOUR WRITTEN RESPONSE to this lawsuit shall be filed in Justice of the Peace, Precinct Five, at 1000
 Guadalupe Street Room 117, Austin, Texas 78701. E-mail JP5civil traviscountytx.gov. Phone #(512) 854-9050.
 A copy of your written response or any other document you file with the court must be served on all other parties.
 Proof of service must be evidenced by a certificate of service attached to the document filed with the Court. Please
 consult Texas Rules of Civil Procedure, Rule 501.4 for additional information.

 THE LAW PROHIBITS THE JUDGE & THE CLERKS FROM GIVING LEGAL ADVICE, SO PLEASE DO
 NOT SEEK SUCH ADVICE FROM THIS OFFICE. ANY QUESTIONS YOU HAVE SHOULD BE DIRECTED
 TO AN ATTORNEY.

 Your cause number is J5-CV-24-274397, case styled
                                       VANESSA BISSERETH, Plaintiff/s vs.
                        JAVITCH BLOCK,LLC; BANK OF AMERICA,N.A., Defendant/s
 was filed in the Justice Court, Precinct Five, on November 20, 2024.

 Issued and given under my hand on December 17, 2024.


                                                                             Judge Rick "Rico" Olivo
                                                                             Justice of the Peace, Pct. 5
                                                                             1000 Guadalupe Streeti# 7
 Plaintiff / Plaintiff Attorney / Plaintiff Agent(if applicable):            Austin, Texas 78701
 ROBERT ZIMMER                                                  MAILED THIS _                       .pCd 8 22420 -
                                                                                                   0E
  1 108 LAVACA STREET SUITE 110-187                                         c
  AUSTIN TX 78701
                                                                  CONSTABLE, PL                    ,S COUNTY,TEXAS
 <<<<<SEE PETITION FOR TELEPHONE NUMBER>>>>
                                                                BY:
                                                OFFICER'S RETURN                          DEVI,:

 Came to the hand on the             day of                      , 20     at        o'clock           . M.
 Executed at                                  within County of                at     o'clock           . M. on the
        day of                           , 20    ,by delivering to the within named


 a true copy of this citation together with the accompanying copy of the petition having first attached such copy of
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 To certify which witness my hand officially:
 SERVICE FEE $                                             of                              'Caddy, Texas
                                                      By Deputy

STATEMENT OF INABILITY TO AFFORD PAYMENT OF COURT COSTS
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                                                                                   Justice of the Peace,Pct.5
                                                                                        Travis County, Texas
                                                                                            J5-CV-24-274397
                                     J5-CV-24-274397
                                  NO.


                                              §
VANESSA BISSERETH,                            §            IN THE JUSTICE COURT
Plaintiff                                     §
                                              §
                                              §
VS.                                           §            PRECINCT NO. 5
                                              §
BANK OF AMERICA,N.A.,                         §
and JAVITCH BLOCK,LLC,                        §
Defendants,                                   §            TRAVIS COUNTY,TEXAS
                                              §
                           PLAINTIFF'S ORIGINAL PETITION


TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Plaintiff VANESSA BISSERETH ("Bissereth"), and files this, her

Original Petition, complaining of DEFENDANTS Bank of America, N.A.("BofA"), and Javitch

Block, LLC ("Javitch Block"), and for causes of action would respectfully show this Honorable

Court the following:


                                             PARTIES

       Plaintiff Vanessa Bissereth is a resident of Travis County, Texas.

       Defendant Bank of America N.A. is a financial institution domiciled in North Carolina,

which does or transacts business in Texas.

       Defendant Bank of America N.A., maybe be served with process via its Registered

Agent, CT CORPORATION SYSTEM, at 160 MINE LAKE CT., STE. 200, RALEIGH,

NORTH CAROLINA,27615.

       Defendant Javitch Block, LLC is a limited liability corporations domiciled in Ohio,

which does or transacts business in Texas.
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                                                                                           Travis County, Texas
                                                                                               J5-CV-24-274397

     Defendant Javitch Block, LLC may be served with process through its Registered Agent,

REGISTERED AGENT SOLUTIONS,CORPORATE CENTER ONE,5301 SOUTHWEST

PARKWAY,STE. 400, AUSTIN,TX 78735.



                               VENUE AND JURISDICTION


  1. Venue is proper in this Court because Travis County, Texas is where events giving rise to

     Bissereth's claims occurred (see Tex. Civ. Prac. & Rem. Code §§ 15.002(a).

  2. The amount in controversy is within the jurisdictional limits of this Court, i.e.,

     $20,000.00.


                                FACTUAL ALLEGATIONS


  3. At all times relevant to this claim, Bissereth was a "consumer" as that term is defined in

     the Fair Debt Collection Practices Act("FDCPA"), 15 U.S.C. § 1692a(3), and the Texas

     Debt Collection Act("TDCA"), Tex Fin. Code § 392.001(1).

  4. At all times relevant to this claim, Javitch Block was both a "debt collector" and a "third-

     party debt collector" as those terms are defined in the TDCA§ 392.001(6) and (7)

     respectively, and a "debt collector" as that term is defined in the FDCPA § 1692a(6).

  5. At all times relevant to this claim, BofA Javitch was a "debt collector" as that term is

     defined in the TDCA § 392.001(6).

  6. The FDCPA and TDCA claims in this lawsuit arose from BofA's and Javitch Block's

     illegal attempts to collect a consumer debt from Bissereth (Javitch Block File No.

     2141980)(the "alleged debt").

  7. Bissereth did not incur the alleged debt; she was a victim of identity theft.
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                                                                                        Travis County, Texas
                                                                                            J5-CV-24-274397

8. On June 23rd, 2021, Bissereth filed a police report with the Austin Police Department

   regarding the identity theft (the "police report").

9. On or about July 2021, Bissereth notified the credit bureaus that she had been a victim of

   identity theft, and concurrently she disputed the alleged debt with all three credit bureaus.

10. Nonetheless, Defendants sued Bissereth on August 2, 2024 to recover the alleged debt

   from her(Bank ofAmerica, NA. v. Vanessa Bissereth - J1-CV-24-004065 in Travis

   County, Texas, JP #1 ("the debt claim case").

1 1. In Defendants' pleadings in the debt claim case, Defendants falsely stated that Bissereth .

   owes the alleged debt, when she does not.

12. On or about August 2024, and again in October 2024, Bissereth disputed the alleged debt

   with Defendants and furnished them with proof of identity theft.

13. However, despite knowing for months that the alleged debt was not valid, Defendants

   have refused to dismiss the debt claim case against her.

14. Despite knowing that Bissereth did not owe the alleged debt, BofA has been falsely

   communicating to the credit bureaus that Bissereth owes the debt and that it is valid.

15. Due to BofA's false credit reporting and false statements regarding the alleged debt, the

   cost of obtaining credit increased for Bissereth.


                                 CAUSES OF ACTION

                                        COUNT I

      VIOLATION OF THE TEXAS DEBT COLLECTION ACT("TDCA"),
                     TEX. FIN. CODE §392 et seq.


16. Bissereth incorporates the preceding paragraphs as if set forth at length.
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17. Despite being aware Bissereth was a victim ofID theft, BofA violated the TDCA

   §392.301(a)(3) by falsely communicating to the credit bureaus that Bissereth owed an

   undisputed debt.

18. Javitch Block and BofA violated the TDCA § 392.202 by failing to legitimately

   investigate the validity of the alleged debt upon receipt of Bissereth's claim.

19. Instead, Javitch Block and BofA both simply mailed Bissereth a computer-generated

   form letter containing conclusory statements claiming the debt is valid, without actually

   investigating Bissereth's dispute.

20. Javitch Block violated the TDCA § 392.304(a)(18) by sending Bissereth debt collection

   letters, and filing pleadings in the debt claim case, which falsely represent that Bissereth

   owes the alleged debt.

21. As a result of BofA's and Javitch Block's violations of the TDCA § 392.202 and §

   392.301(a)(3), Bissereth is entitled to an order directing Defendants to permanently cease

   collection on the alleged debt, pursuant to TDCA §392.403(a)(1); statutory damages of

   no less than $100.00, pursuant to the TDCA §392.403(e); actual damages; and attorney

   fees pursuant to TDCA § 392.403(c).



                                        COUNT II

     VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT,
                       15. U.S.C.§ 1692 et seq.


22. Bissereth incorporates the preceding paragraphs as if set forth at length.
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                                                                                                 J5-CV-24-274397

   23. Despite being aware Bissereth was a victim ofID theft, Javitch Block violated the

       FDCPA § 1692e(10) falsely stating, in both letters and court pleadings, that Bissereth

       owes the alleged debt when she does not.

   24. As a result of Javitch Block's violations of the FDCPA, Bissereth is entitled to statutory

       damages of $1,000.00; actual damages according to proof; and an award of attorney fees

       and costs, per FDCPA § 1692k(a).


                                   PRAYER FOR RELIEF


   WHEREFORE,Plaintiff Vanessa Bissereth prays that this Court award judgment in her favor

and against Defendants Bank of America, N.A. and Javitch Block, LLC., as follows:

   a. As to both Defendants, award Bissereth statutory damages of no less than $100.00; actual

       damages according to proof; and attorney fees and costs of court, per the TDCA §

       392.403;

   b. Enter an order enjoining both Defendants from engaging in any further collection

       activities on this alleged debt as to Bissereth, the order being authorized by the TDCA §

       392.403;

   c. As to Defendant Javitch Block, award Bissereth $1,000.00 in statutory damages; actual

       damages according to proof; and attorney fees and costs of court, per the FDPCA §

       1692k(a).

   d. award Bissereth any other relief to which she is entitled, in law or in equity.




                                                          [signature block on next page]
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                                                                       Travis (iounty, Texas
                                                                           J5-CV-24-274397

                                                 Respectfully Submitted,

                                    Zimmer & Associates, A Law Firm
                                      1 108 Lavaca Street, Suite 110-187
                                                   Austin, Texas 78701
                                         Telephone/Fax:(512)434-0306

                                                      /s/ Robert Zimmer
                                           By:    Robert Zimmer,Esq.
                                                 State Bar No. 24098662
                                              zimmerlawTX@gmail.com

                                        ATTORNEY FOR PLAINTIFF,
                                             VANESSA BISSERETH
